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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  DISTRIBUTED MEDIA SOLUTIONS,
  LLC,

                Plaintiff,
                                                  CIVIL ACTION NO. 2:22-cv-254-JRG-RSP
  v.

  DEEZER S.A.,
                                                         JURY TRIAL DEMANDED
                Defendant.

         PLAINTIFF DISTRIBUTED MEDIA SOLUTIONS, LLC’S NOTICE OF
       COMPLIANCE WITH PARAGRAPHS 1 & 3 OF THE DISCOVERY ORDER

        Distributed Media Solutions, LLC, Plaintiff in the above-entitled and numbered action,

 hereby notifies the Court and all parties that on February 9, 2023, Plaintiff complied with the

 Court’s Docket Control Order (Dkt. No. 18) by serving its Initial and Additional Disclosures as

 required by paragraphs 1 & 3 of the Court’s Discovery Order (Dkt. No. 19) upon counsel of record

 for Defendant Deezer S.A.

  DATED: February 9, 2023                        Respectfully submitted,

                                                 /s/ Stafford Davis
                                                 Stafford Davis
                                                 State Bar No. 24054605
                                                 Email: sdavis@stafforddavisfirm.com
                                                 Catherine Bartles
                                                 State Bar No. 24104849
                                                 Email: cbartles@stafforddavisfirm.com
                                                 THE STAFFORD DAVIS FIRM, PC
                                                 815 S Broadway Ave
                                                 Tyler, Texas 75701
                                                 Phone: (903) 593-7000
                                                 Fax: (903) 705-7369

                                                 Mark S. Raskin
                                                 Michael S. DeVincenzo
                                                 Daniel Miller
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                                       KING & WOOD MALLESONS LLP
                                       500 5th Avenue, 50th Floor
                                       New York, New York 10110
                                       (212) 319-4755
                                       mark.raskin@us.kwm.com
                                       michael.devincenzo@us.kwm.com
                                       daniel.miller@us.kwm.com

                                       Attorneys for Plaintiff Distributed Media
                                       Solutions, LLC
